                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-153

                                              No. 9A21

                                     Filed 17 December 2021

     IN THE MATTER OF: L.M.M.


           On writ of certiorari pursuant to N.C.G.S. § 7A-32(b) to review an order entered

     on 27 October 2020 by Judge John K. Greenlee in District Court, Gaston County. This

     matter was calendared for argument in the Supreme Court on 12 November 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Ashley A. Crowder for petitioner-appellees.

           No brief for appellee Guardian ad Litem.

           Richard Croutharmel for respondent-appellant father.


           NEWBY, Chief Justice.

¶1         Respondent-father appeals from the trial court’s order terminating his

     parental rights to L.M.M. (Lisa).1 Because we hold the trial court did not err in

     concluding that grounds existed to terminate respondent’s parental rights under

     N.C.G.S. § 7B-1111(a)(7), we affirm the trial court’s order.




           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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¶2         This case arises from a private termination action filed by petitioners, Mrs.

     and Mr. O., who are Lisa’s maternal aunt and uncle. Lisa has been in petitioners’ care

     since 7 July 2017 when Lisa’s mother passed away and respondent was charged with

     her murder.

¶3         Respondent and Lisa’s mother met when they both attended an inpatient

     rehabilitation facility for substance abuse. They were subsequently “kicked out” for

     failure to follow the rules. Respondent and the mother were married in 2015 and Lisa

     was born shortly thereafter. Respondent and the mother continued to engage in

     substance abuse after Lisa was born.

¶4         On 7 July 2017, police were dispatched to the family’s residence when

     respondent called 911 after finding the mother not breathing. Petitioners learned of

     the mother’s passing, and Mrs. O. drove to the residence. Mrs. O. asked respondent

     if she and Mr. O. could watch Lisa for the weekend, and respondent agreed. Three

     days later, petitioners filed a complaint for child custody in Mecklenburg County and

     obtained an ex parte emergency custody order on 11 July 2017. The order did not

     allow respondent visitation pending future court orders. On 19 July 2017, respondent

     was arrested and charged with first-degree murder for the mother’s death. On 9

     October 2017, the District Court, Mecklenburg County, entered a temporary custody

     order awarding petitioners custody of Lisa.
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¶5         On 10 May 2018, respondent pled guilty to involuntary manslaughter and was

     sentenced to thirteen months of imprisonment. He was released from incarceration

     on or about 8 August 2018. Respondent did not have any contact with petitioners or

     Lisa during his incarceration. After his release, between 16 October 2018 and 18

     January 2019, respondent sent petitioners four money orders totaling $800.00.

¶6         Around October or November of 2018, respondent hired an attorney to assist

     him with the pending custody case in Mecklenburg County. On 7 November 2018,

     petitioners filed for and received another ex parte emergency custody order. Around

     December of 2018, respondent fired his attorney. Respondent did not thereafter hire

     another attorney to represent him in the custody proceeding.

¶7         On or about 9 November 2018, petitioners filed a petition in Stanly County to

     terminate respondent’s parental rights to Lisa. On 3 September 2019, petitioners

     voluntarily dismissed the action and filed a new petition in Gaston County seeking

     to terminate respondent’s parental rights, alleging the grounds of neglect,

     dependency, and willful abandonment. See N.C.G.S. § 7B-1111(a)(1), (6)–(7) (2019).

¶8         On 27 October 2020, the trial court entered an order concluding that grounds

     existed to terminate respondent’s parental rights based upon neglect and willful

     abandonment. N.C.G.S. § 7B-1111(a)(1), (7). The court further concluded it was in

     Lisa’s best interests that respondent’s parental rights be terminated. Accordingly,
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       the trial court terminated respondent’s parental rights. Respondent seeks appellate

       review.2

¶9             On appeal respondent argues the trial court erred by concluding grounds

       existed to terminate his parental rights. A termination of parental rights proceeding

       consists   of    an   adjudicatory     stage    and    a     dispositional   stage.   N.C.G.S.

       §§ 7B-1109, -1110 (2019); In re Montgomery, 311 N.C. 101, 110, 316 S.E.2d 246, 252
       (1984). At the adjudicatory stage, the petitioner bears the burden of proving by “clear,

       cogent, and convincing evidence” the existence of one or more grounds for termination

       under subsection 7B-1111(a). N.C.G.S. § 7B-1109(f). If the petitioner meets his

       burden during the adjudicatory stage, “the court proceeds to the dispositional stage,

       at which the court must consider whether it is in the best interests of the juvenile to

       terminate parental rights.” In re D.L.W., 368 N.C. 835, 842, 788 S.E.2d 162, 167
       (2016) (citing In re Young, 346 N.C. 244, 247, 485 S.E.2d 612, 614–15 (1997); N.C.G.S.

       § 7B-1110 (2015)).

¶ 10          Respondent only challenges the trial court’s determination at the adjudicatory

       stage that grounds existed to terminate his parental rights.

                       “We review a trial court’s adjudication under N.C.G.S.


              2 On 17 February 2021, petitioners filed a motion in this Court to dismiss respondent’s

       appeal and two motions for sanctions on the ground that respondent’s notice of appeal was
       not timely filed. On 10 March 2021, this Court denied petitioners’ motion to dismiss. On 29
       March 2021, acknowledging that his notice of appeal was untimely, respondent filed a
       petition for writ of certiorari seeking review of the order terminating his parental rights. This
       Court now allows respondent’s petition for writ of certiorari.
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                     § 7B-1111 ‘to determine whether the findings are
                     supported by clear, cogent and convincing evidence and the
                     findings support the conclusions of law.’ ” In re E.H.P., 372
                     N.C. 388, 392, 831 S.E.2d 49, 52 (2019) (quoting In re
                     Montgomery, 311 N.C. 101, 111, 316 S.E.2d 246, 253                     (1984)); see also N.C.G.S. § 7B-1109(f) (2019).
                     Unchallenged findings are deemed to be supported by the
                     evidence and are “binding on appeal.” In re Z.L.W., 372
                     N.C. 432, 437, 831 S.E.2d 62, 65 (2019). “Moreover, we
                     review only those [challenged] findings necessary to
                     support the trial court’s determination that grounds
                     existed to terminate respondent’s parental rights.” In re
                     T.N.H., 372 N.C. 403, 407, 831 S.E.2d 54, 58–59 (2019).

       In re K.N.K., 374 N.C. 50, 53, 839 S.E.2d 735, 737–38 (2020) (alteration in original).

                                    I.     Willful Abandonment

¶ 11         A trial court may terminate parental rights when “[t]he parent has willfully

       abandoned the juvenile for at least six consecutive months immediately preceding the

       filing of the petition or motion.” N.C.G.S. § 7B-1111(a)(7). “Abandonment implies

       conduct on the part of the parent which manifests a willful determination to forego

       all parental duties and relinquish all parental claims to the child.” In re Young, 346

       N.C. at 251, 485 S.E.2d at 617 (quoting In re Adoption of Searle, 82 N.C. App. 273,

       275, 346 S.E.2d 511, 514 (1986)). “[I]f a parent withholds his presence, his love, his

       care, the opportunity to display filial affection, and wil[l]fully neglects to lend support

       and maintenance, such parent relinquishes all parental claims and abandons the

       child.” Pratt v. Bishop, 257 N.C. 486, 501, 126 S.E.2d 597, 608 (1962). “Whether a

       biological parent has a willful intent to abandon his child is a question of fact to be
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       determined from the evidence.” In re Searle, 82 N.C. App. at 276, 346 S.E.2d at 514.

       “[T]he ‘determinative’ period for adjudicating willful abandonment is the six

       consecutive months preceding the filing of the petition.” In re N.D.A., 373 N.C. 71, 77,

       833 S.E.2d 768, 773 (2019) (quoting In re D.E.M., 257 N.C. App. 618, 619, 810 S.E.2d

       375, 378 (2018)).

¶ 12         Petitioners filed the petition to terminate respondent’s parental rights on 3

       September 2019. Thus, the relevant six-month window for willful abandonment is 3

       March 2019 to 3 September 2019.

¶ 13         Respondent challenges several of the trial court’s findings of fact as

       unsupported by the evidence. We first address respondent’s challenge to finding of

       fact 100. The trial court found:

                    [Respondent] claims that he stopped sending money, cards
                    and gifts because his probation officer told him that he
                    could not have any contact with the victim’s family. There
                    is no court order or document that says this. In fact,
                    [respondent] had been having “contact” through sending
                    support to Petitioners for the benefit of the juvenile, and
                    sending the Christmas gift items. The court does not find
                    this credible as [respondent] had two attorneys at this
                    time, his hired representation in the Mecklenburg County
                    custody case and the appointed attorney in the Stanley [sic]
                    County TPR matter.

       Respondent argues this finding “is fallaciously reasoned because the absence of

       evidence is not evidence of absence,” and the fact that there was no collateral evidence
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       to support respondent’s testimony does not “negate its veracity.” He further argues

       that the finding impermissibly shifts the evidentiary burden to him. We disagree.

¶ 14         It is the trial court’s responsibility “to pass upon the credibility of the witnesses

       and the weight to be given their testimony and the reasonable inferences to be drawn

       therefrom.” In re A.R.A., 373 N.C. 190, 196, 835 S.E.2d 417, 422 (2019) (quoting In re

       D.L.W., 368 N.C. at 843, 788 S.E.2d at 167–68). Here the finding states that the trial

       court did not find respondent’s testimony credible. Because the trial court is the

       proper fact-finding body to make credibility determinations, we reject respondent’s

       argument. Additionally, the trial court did not improperly shift the burden to

       respondent. Rather, the court’s finding demonstrates that respondent’s testimony

       failed to rebut petitioners’ clear, cogent, and convincing evidence that respondent

       willfully stopped sending money, cards, and gifts for Lisa. In re A.C., 378 N.C. 377,

       2021-NCSC-91, ¶ 30 (rejecting the argument that the trial court had inappropriately

       shifted the evidentiary burden to the respondent and concluding instead that the

       respondent failed to rebut the petitioner’s clear, cogent, and convincing evidence).

¶ 15         Respondent also challenges findings of fact 82 and 112, in which the court

       found that there was no prohibition of contact between respondent and Lisa or

       petitioners after May 2018, and that respondent was not prohibited from contacting

       Lisa during the relevant six-month period “due to sickness, incarceration, or any

       other valid reason.” Respondent argues that his probation officer told him to stop
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       sending things to petitioners in 2019, and that petitioners have not refuted this

       argument. As we reject respondent’s challenges to finding of fact 100, we likewise

       reject his challenges to findings of fact 82 and 112 insofar as his arguments are based

       on the credibility of his testimony. There was no other evidence that respondent was

       prohibited from having contact with Lisa or petitioners during the relevant six-month

       period. Notably, the trial court did find that respondent’s lack of contact from his

       arrest until his conviction in May 2018 was not willful because his attorney advised

       him not to have contact with the mother’s family. Respondent’s arguments are

       overruled.

¶ 16         Respondent next challenges the portion of finding of fact 83 that states he did

       not send any response to the letter Mrs. O. sent to him dated 29 July 2018, in which

       she told respondent she forgave him for killing her sister and that Lisa was being

       taken care of in a safe environment. Respondent argues that he sent a letter in

       response apologizing for everything that happened and stating that he wished to see

       Lisa. At the hearing, however, respondent testified that he did not send a response to

       the letter, stating that he “would have liked to . . . [b]ut [he] didn’t.” Additionally,

       Mrs. O. testified that respondent did not respond to her letter. Therefore, we reject

       respondent’s challenge to this finding.

¶ 17         Respondent next challenges finding of fact 84. The trial court found that “[i]t

       is unclear as to what [respondent] knew about who legally had custody of the minor
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       child while he was incarcerated. Who had legal custody, however, was not material

       to [respondent’s] ability to see the juvenile.” Respondent argues that it was “highly

       relevant” that the maternal relatives had legal custody of Lisa because he was

       ordered to have no contact with them. There is no evidence, however, that respondent

       was ordered not to have contact with the maternal relatives. The trial court found

       that respondent’s attorney in the criminal case advised respondent not to have

       contact with the family while the criminal case was pending, and therefore his lack

       of contact from his arrest until his conviction in May 2018 was not willful. As stated

       above, the trial court did not find credible respondent’s testimony that his probation

       officer told him not to have contact with the maternal relatives. The maternal

       grandmother and respondent testified that the custody order did not allow him any

       visitation, but there is no evidence he was prohibited from having contact. Therefore,

       we reject respondent’s challenge to this finding.

¶ 18         Respondent challenges finding of fact 87 as unsupported by the evidence. The

       trial court found that respondent “did not open up the conversation about visitation

       in any way shape or form. He did not email, send a letter, call or use his family

       members to initiate a conversation.” Respondent contends that he sent a letter to

       petitioners “indicating he would love to see Lisa.” Respondent testified that he sent a

       letter to petitioners after he was released from prison in August of 2018. Mrs. O.

       testified that she believed she received a letter from respondent in September 2019.
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       The trial court here properly recognized the relevant time period for determining

       whether respondent’s conduct constituted willful abandonment as 3 March 2019 to 3

       September 2019. Because respondent’s testimony indicates that he sent the letter in

       August of 2018 after he was released from incarceration, the trial court could in its

       discretion determine that respondent did not engage in any conversation about

       visitation during the relevant period for evaluating willful abandonment. As such, we

       reject respondent’s challenge.

¶ 19         Respondent next challenges findings of fact 95, 96, and 97. The trial court

       found that respondent “did not follow through with the legal route to obtain

       visitation” with Lisa as he did not take any further steps to pursue visitation after he

       fired his attorney around December of 2018. The court also found that respondent did

       not take any further steps outside of the legal process to seek visitation or contact

       Lisa after he fired his attorney in December of 2018. Respondent acknowledges that

       these findings are true but negates the trial court’s conclusion that these actions were

       willful. Because respondent has not challenged the findings of fact for their lack of

       evidentiary support, they are deemed to be supported by the evidence and are binding

       on appeal. See In re Z.L.W., 372 N.C. at 437, 831 S.E.2d at 65. Moreover, as stated

       above, the trial court did not find respondent’s testimony on this subject to be credible.

       Therefore, respondent’s argument is without merit.
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¶ 20         Respondent next challenges findings of fact 98, 105, and 106, which state that

       he did not send any cards, gifts, or letters to Lisa after January 2019 and that all

       other actions by respondent were taken after the petition to terminate his parental

       rights was filed on 3 September 2019. Respondent argues that these findings conflict

       with the evidence as well as finding of fact 104, in which the trial court found that

       respondent sent a card with a note and some presents to petitioners for Lisa on 31

       May 2019. We agree. Respondent testified that he sent a card and gift to Lisa in May

       2019 and presented a receipt from the postal service dated 31 May 2019. Accordingly,

       we disregard findings of fact 98, 105, and 106 to the extent they indicate respondent

       did not send a card and gift on 31 May 2019. See In re J.M.J.-J., 374 N.C. 553, 559,

       843 S.E.2d 94, 101 (2020).

¶ 21         Respondent challenges finding of fact 99 in which the trial court found that

       respondent “has not sent, or attempted to send, any further money or financial

       support to Petitioners, in support of [the] juvenile or otherwise, since February 1,

       2019.” Respondent’s own testimony supports the trial court’s finding. Respondent

       testified that he did not send any money or support payments to petitioners after 1

       February 2019. Therefore, respondent’s challenge is overruled.

¶ 22         Respondent next challenges finding of fact 101 which states that he “did not

       make any attempts to show his love, affection, or care for [Lisa] since January 2019.”

       Respondent argues that evidence from both parties and unchallenged finding of fact
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       104 demonstrate that he sent cards and gifts to Lisa after 1 February 2019, which he

       contends showed his love for her. Respondent asserts that Mrs. O. testified she

       received two cards from respondent in 2020 and a letter in September 2019. Besides

       the card and gift respondent sent in May of 2019, which the trial court acknowledged

       in finding of fact 104, respondent’s other cards and the letter, as previously addressed,

       fall outside the six-month determinative period preceding the filing of the

       termination petition on 3 September 2019. Thus, the trial court did not err, and

       respondent’s challenge is overruled.

¶ 23         Respondent similarly challenges finding of fact 115, which seems to encompass

       various findings above, including that respondent failed to make a serious or sincere

       effort to be in the child’s life since 1 February 2019. In this finding, the trial court

       recognized the card and gift respondent sent to the child in May of 2019, but

       concluded that this one action without more is insufficient effort. For the reasons

       stated above addressing respondent’s inaction in several aspects, we reject

       respondent’s challenge to this finding.

¶ 24         Respondent next challenges findings of fact 108, 109, and 113. In finding of

       fact 108, the trial court found that due to the improperly filed termination petition in

       Stanly County, respondent had an additional eight months of time to make an effort

       to show his parental concern and care for Lisa. The trial court found in finding of fact

       109 that after respondent was put on notice that petitioners wished to terminate his
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       parental rights in the Stanly County termination case, he “took no action to try to

       assert his visitation rights with the minor child or to maintain or reestablish a

       relationship with the minor child aside from sending Christmas gifts and making four

       child support payments.” The court found in finding of fact 113 that respondent did

       not assert his rights and obtain visitation in the custody action in order to show that

       he was trying to maintain or reestablish a relationship with Lisa. Respondent argues

       that he hired an attorney to assist him in the Mecklenburg County custody case and

       relied on that attorney until he fired her in December 2018. Respondent’s

       involvement in the Mecklenburg County custody case was outside the relevant six-

       month period. Moreover, it is clear that the filing of the Stanly County termination

       petition put respondent on notice of petitioners’ intentions. Additionally, his

       argument ignores the fact that he took no further action after he fired his attorney in

       the custody case. Therefore, we reject respondent’s argument.

¶ 25         Respondent next challenges findings of fact 120, 121, and 123. The trial court

       found that respondent “has done close to nothing in this case,” that his actions since

       his release from incarceration “were very sporadic and inconsistent,” and that his

       “actions to maintain or reestablish a relationship with the minor child were woefully

       inadequate.” Respondent argues that he used three different attorneys to fight for his

       visitation and parental rights to Lisa and that at least one of the attorneys had

       represented him since November of 2018. Respondent’s argument, however, ignores
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       that he had almost no contact with Lisa or petitioners since Lisa was last in his care.

       Respondent last saw and spoke to Lisa in July 2017; he only sent one card and gift in

       the six months preceding the filing of the termination petition; he sent additional

       gifts in December 2019, early 2020, and April 2020, after the termination petition

       was filed; he did not send any financial support after February 2019; and although

       he obtained an attorney in the custody action, he did nothing else in the matter after

       firing his attorney in December 2018. This evidence supports the trial court’s

       findings. We reject respondent’s challenges to findings of fact 126 and 127 for the

       same reasons.

¶ 26          Finally, respondent challenges findings of fact 124, 125, and 129. The trial

       court found that respondent’s actions demonstrated willful and intentional conduct

       which was evidence of his purpose to forego all parental duties, that there was clear,

       cogent, and convincing evidence that respondent’s conduct constituted willful

       abandonment of Lisa, and that grounds existed to terminate his parental rights under

       N.C.G.S. § 7B-1111(a)(7). Because these findings are more accurately assessed as

       conclusions of law, we address those conclusions below.3



              3 Respondent also challenges findings of fact 117 and 118 which ultimately relate to

       respondent’s actions and omissions constituting neglect. We decline, however, to review these
       findings as they relate to the trial court’s adjudication of neglect under N.C.G.S.
       § 7B-1111(a)(1) and are not necessary to support the trial court’s determination that grounds
       existed to terminate respondent’s parental rights under N.C.G.S. § 7B-1111(a)(7). See In re
       T.N.H., 372 N.C. at 407, 831 S.E.2d at 58–59 (“[W]e review only those findings necessary to
       support the trial court’s determination that grounds existed to terminate respondent’s
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¶ 27          Respondent next contends that the evidence and the trial court’s findings of

       fact do not support its conclusion that he willfully abandoned Lisa. The trial court’s

       findings of fact demonstrate that except for respondent’s one “card with a note, and

       some presents” to petitioners for Lisa in May 2019, he made no other attempt to

       contact petitioners or to reestablish a relationship with Lisa during the relevant

       six-month period, from 3 March 2019 to 3 September 2019. The trial court found that

       during the six months immediately preceding the filing of the termination petition,

       respondent made no attempts “to otherwise contact or communicate with the minor

       child,” did not call to inquire into Lisa’s well-being, did not provide any financial

       support to Lisa, did not file any legal motions or filings to assert or establish his

       visitation rights, and did not make any attempts to show his love, care, or affection

       for Lisa. The court also found that respondent knew petitioners’ contact information

       and had not been prohibited from contacting Lisa or petitioners during the relevant

       six-month period. Though respondent testified that he stopped sending money, cards,

       and gifts by February 2019 because his probation officer told him he could not have

       any contact with the mother’s family, the trial court did not find this testimony

       credible.




       parental rights.”). Additionally, we decline to review respondent’s challenges to findings of
       fact 107, 114, and 116 for the same reason.
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¶ 28         The trial court’s findings of fact demonstrate that respondent willfully

       withheld his love, care, and affection from Lisa during the relevant time period.

       Therefore, we hold the trial court did not err in concluding that respondent’s conduct

       constituted willful abandonment and that grounds existed to terminate his parental

       rights under N.C.G.S. § 7B-1111(a)(7).

                                          II.    Neglect

¶ 29         Respondent also argues that the trial court erred in terminating his rights

       under N.C.G.S. § 7B-1111(a)(1). Because the trial court properly terminated

       respondent’s parental rights based upon N.C.G.S. § 7B-1111(a)(7), we need not

       address this argument. See In re Moore, 306 N.C. 394, 404, 293 S.E.2d 127, 133 (1982)

       (holding that an appealed order should be affirmed when any one of the grounds

       found by the trial court is supported by findings of fact based on clear, cogent, and

       convincing evidence); see also N.C.G.S. § 7B-1111(a) (“The court may terminate the

       parental rights upon a finding of one or more [grounds for termination.]”).

       Accordingly, we affirm the trial court’s termination order.

             AFFIRMED.
